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                      UNITED STATES DISTRICT COURT
                       WESTERN DISTRICT OF TEXAS
                            EL PASO DIVISION
USA                                             §
                                                §      CRIMINAL NO:
vs.                                             §      EP:22-CR-00037(1)-KC
                                                §
(1) April Cadena                                §

      ORDER SETTING IN-PERSON SENTENCING (DEFENDANT
                          NEEDED)
         IT IS HEREBY ORDERED that the above entitled and numbered case is set for
IN-PERSON SENTENCING (DEFENDANT NEEDED) in District Courtroom, Room 522,
on the 5th Floor of the United States Courthouse, 525 Magoffin Avenue, El Paso, TX, on
Tuesday, November 29, 2022 at 09:00 AM.

       IT IS FURTHER ORDERED that the Clerk of Court shall send a copy of this order to
counsel for defendant, the United States Attorney, United States Pretrial Services and the United
States Probation Office. Counsel for the defendant shall notify the defendant of this setting and,
if the defendant is on bond, advise the defendant to be present at this proceeding.

        IT IS SO ORDERED this 13th day of September, 2022.




                                                ______________________________
                                                KATHLEEN CARDONE
                                                UNITED STATES DISTRICT JUDGE
